                        Case 4:08-cr-00060-JLH                 Document 66             Filed 11/23/09         Page 1 of 6
fl!!hAO 2458   (Rev. 06/05) Judgment in a Criminal Case
               Sheet 1
                                                                                                                  pmVs.
                                                                                                                          FILED
                                                                                                                        DISTRICT CO~
                                                                                                                     ~rJ~J8Ti(jGiAh  SAS

                       UNITED STATES DISTRICT COURTrk~~~09
_ _ _ _ _ _ _ _....:E=A.::S:::..;:T~E:;:;,R~N.:.....___ District of ARKAN~cMRK
           UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE                                 ~
                               v.
                  DOBIE LEE BROWN                                          Case Number:                    4:08CR00060-01 JLH

                                                                           USMNumber:                      21849-009

                                                                           OmarGreene
                                                                           Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)          Count 2 of Indictment
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                       Offense Ended               Count
21 U.S.C. § 841(a)(I)               Aiding and abetting possession with intent to distribute cocaine          8/29/2007                  2
  and 18 U.S.C. § 2                  base, a Class A felony




       The defendant is sentenced as provided in pages 2 through            _~6__ of this judgment.         The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
X Count(s)      Counts 1, 3-5 of Indictment               D is      X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in econOlDlC circumstances.




                                                                           J. LEON HOLMES, UNITED STATES DISTRICT JUDGE
                                                                            Name and Title of Judge


                                                                            November 23, 2009
                                                                            Date
                          Case 4:08-cr-00060-JLH              Document 66           Filed 11/23/09          Page 2 of 6
AD 245B       (Rev. 06/05) Judgment in Criminal Case
              Sheet 2 - hnprisonment
                                                                                                       Judgment - Page _   ....
                                                                                                                            2 _ of   6
DEFENDANT:                       DOBIE LEE BROWN
CASE NUMBER:                     4:08CR00060-01 JLH


                                                               IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

                                                                151 MONTHS


      X        The court makes the following recommendations to the Bureau of Prisons:
               The Court recommends defendant participate in nonresidential substance abuse treatment, mental health
               counseling, and educational and vocationaf programs during incarceration. The Court further recommends
               that defendant be placed in a facility that has the capability of attending to the defendant's prosthetic leg.


      X        The defendant is remanded to the custody of the United States Marshal.

      D        The defendant shall surrender to the United States Marshal for this district:

                o a                              0 a.m.         0 p.m.        on

                o as notified by the United States Marshal.
          o     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                [J before 2 p.m.

                o as notified by the United States Marshal.
                o as notified by the Probation or Pretrial Services Office.

                                                                    RETURN
 I have executed this judgment as follows:




                Defendant delivered                                                        to

 at   _ _ _ _ _ _ _- - - - - - - - , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL
                         Case 4:08-cr-00060-JLH                Document 66            Filed 11/23/09          Page 3 of 6
AO 245B       (Rev. 06/05) Judgment in a Criminal Case
              Sheet 3 - Supervised Release

                                                                                                            Judgment-Page     3     of         6
DEFENDANT:                     DOBIE LEE BROWN
CASE NUMBER:                   4:08CR00060-01 JLH
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:


                                                               FIVE (5) YEARS

     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

o The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments slieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled suostances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do sooy the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;              .
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or }?ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AD 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 3B - Supervised Release
                                                                                           Judgment-Page _..:.4_ of          6
DEFENDANT:                 DOBIE LEE BROWN
CASE NUMBER:               4:08CR00060-01 JLH

                         ADDITIONAL STANDARD CONDITIONS OF SUPERVISION

·14) Pursuant to the Violent Crimes Control Act, defendant will be subject to a special condition of drug testing while on
 supervised release under the guidance and supervision of the U.S. Probation Office.
15) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
treatment program whicli may mclude testing, outpatient counseling, and residential treatment. The defendant must abstain
from the use of alcohol throughout the course of treatment.
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AD 245B   (Rev. 06/05) judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment - Page _ ....
                                                                                                                           5_ _             of       6
DEFENDANT:                        DOBIE LEE BROWN
CASE NUMBER:                      4:08CR00060-01 JLH
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                            Fine                                           Restitution
TOTALS            $ 100.00                                             $ 0                                      $ 0


 o The determination of restitution is deferred until _ _ _.. An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.

 o The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned paYlllent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                Total Loss·                             Restitution Ordered                          Priority or Percentage




 TOTALS                              $                       ...::0:.,..          $                         ....;0;;...




      Restitution amount ordered pursuant to plea agreement $

 o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       o the interest requirement is waived for the 0 fine 0 restitution.
       o the interest requirement for the 0 fine 0 restitution is modified as follows:

 * Findings for the total amount oflosses are reguired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                          Case 4:08-cr-00060-JLH                          Document 66          Filed 11/23/09     Page 6 of 6
AD 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                                Judgment - Page   6   of       6
DEFENDANT:                       DOBIE LEE BROWN
CASE NUMBER:                     4:08CR00060-01 JLH

                                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X     Lump sum payment of $ ....;;.10;::.;0~•.:::.OO;;:.....         due immediately, balance due

           o       not later than                                             , or
           o       in accordance                 o C,           0    D,   0     E, or     o Fbelow; or
B    0     Payment to begin immediately (may be combined with                           o C, o D,        o F below); or
c    0     Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                        (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this judgment; or

D    0     Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a .
           term of supervision; or

E    0     Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     0    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expresslr ordered otherwise, if this judgJDent imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnmina monetary penalties, except those payments made througn the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

o    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




o The defendant shall pay the cost of prosecution.
o The defendant shall pay the following court cost(s):
o The defendant shall forfeit the defendant's interest in the following property to the United States:


PaY!llents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
